Case: 1:19-cv-00398-SJD-SKB Doc #: 22 Filed: 11/04/19 Page: 1 of 3 PAGEID #: 138




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

Andrea Goldblum,                             :

       Plaintiff,                            :      Case No. 1:19-cv-398

v.                                           :      Judge Dlott

University of Cincinnati,                    :      Magistrate Judge Bowman

       Defendant.                            :


            DEFENDANT UNIVERSITY OF CINCINNATI’S RESPONSE
               TO PLAINTIFF’S OBJECTIONS (DOC. # 18) TO THE
          MAGISTRATE’S REPORT AND RECOMMENDATION (DOC. # 17)


       On May 27, 2019, Plaintiff filed her two-count Complaint alleging that she was retaliated

against in violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 (“Title

IX”) and Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq. (“Title VII”).

(Compl., Doc. 1 at PAGEID # 1). Defendant, the University of Cincinnati (the “University”),

moved to dismiss Plaintiff’s Complaint in its entirety. (Mot. Dismiss, Doc. 7). Magistrate Judge

Bowman issued a Report and Recommendation recommending that Plaintiff’s Title VII claim be

dismissed because “the complaint is devoid of any allegations that Plaintiff engaged in any

activity protected by Title VII[.]” (R&R, Doc. 17, PAGEID # 121 (emphasis in original)).

Thereafter, Plaintiff filed objections to Magistrate Judge Bowman’s recommendation of

dismissal of her Title VII claim. (Pl.’s Objections to R&R, Doc. 18).

       Plaintiff’s objections to the Report and Recommendation are without merit. Plaintiff

herself notes that she is objecting “solely for the purposes of retaining any applicable appellate

rights and in the event that the relevant law in the Sixth Circuit regarding pre-emption changes
Case: 1:19-cv-00398-SJD-SKB Doc #: 22 Filed: 11/04/19 Page: 2 of 3 PAGEID #: 139




while this case is pending.” (Pl.’s Objections to R&R, Doc. 18, PAGEID # 126). However, a

change of the relevant law in the Sixth Circuit regarding whether Title IX employment retaliation

claims are preempted by Title VII would do nothing to save Plaintiff’s Title VII claim. Rather,

Plaintiff’s Title VII claim fails for the simple reason that she has not alleged a prima facie case

of Title VII retaliation. As noted by Magistrate Judge Bowman, Plaintiff has not “allege[d] that

she opposed a discriminatory employment practice or participated in a charge or investigation of

an employment practice under Title VII.”          (R&R, Doc. 17, PAGEID # 122 (emphasis in

original)). It is this defect that is fatal to her Title VII claim, not the current state of case law in

the Sixth Circuit regarding preemption.

        Therefore, Defendant University of Cincinnati respectfully requests that this Court

overrule Plaintiff’s objections and adopt Magistrate Judge Bowman’s recommendation that

Plaintiff’s Title VII claim be dismissed.

                                                        Respectfully submitted,

                                                        DAVE YOST (0056290)
                                                        Ohio Attorney General

                                                        /s/ Reid T. Caryer
                                                        _________________________________
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Case: 1:19-cv-00398-SJD-SKB Doc #: 22 Filed: 11/04/19 Page: 3 of 3 PAGEID #: 140




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                                                  Counsel for Defendant


                               CERTIFICATE OF SERVICE

        This will certify that the foregoing Defendant University of Cincinnati’s Response to
Plaintiff’s Objections (Doc. # 18) to the Magistrate’s Report and Recommendation (Doc. # 17)
was filed electronically on November 4, 2019. Parties may access this filing through the Court’s
system.



                                                  /s/ Reid T. Caryer
                                                  ________________________________
                                                  REID T. CARYER (0079825)
                                                  Trial Counsel




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